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                                                                            FILED IN OPEN COURT
                                                                              U.S.D.C ATLANTA
                                                                           JUL 22 2021
                                                                      Date: __________________________
              IN THE UNITED STATES DISTRICT COURT                           KEVIN P. WEIMER, Clerk


             FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                           s/Lynn Wood Beck
                                                                      By: ____________________________
                                                                                Deputy Clerk

                       ATLANTA DIVISION

UNITED STATES OF AMEMCA

V.                                          CRIMINAL ACTION FILE

JIM C. BECK,                                NO. 1:19-CR-184-MHC


       Defendant.



                              VERDICT FORM

                                       1.



      As to Count One of the Superseding Indictment, we, the Jury, unanimously


find the Defendant JIM C. BECK:



      Not Guilty                                 Guilty

                                       2.



      As to Count Two of the Superseding Indictment, we, the Jury, unanimously


find the Defendant JIM C. BECK:



      Not Guilty                                 G^lty


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                                       3.



     As to Count Three of the Superseding Indictment, we, the Jury, unanimously


find the Defendant JIM C. BECK:



     Not Guilty




     As to Count Four of the Superseding Indictment, we, the Jury, unanimously


find the Defendant JIM C. BECK:



     Not Guilty




     As to Count Six of the Superseding Indictment, we, the Jury, unanimously


find the Defendant JIM C. BECK:



     Not Guilty
                                       6.


     As to Count Seven of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

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                                       7.



     As to Count Eight of the Superseding Indictment, we, the Jury, unanimously

find the Defendant JIM C. BECK:



     Not Guilty

                                       8.



     As to Count Eleven of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty




     As to Count Thirteen of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                    Ul


                                      10.


     As to Count Fourteen of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty



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                                      11.


     As to Count Fifteen of the Superseding Indictment, we, the Jury,

unanimously find the Defendant JIM C. BECK:



     Not Guilty                                    ufty

                                      12.


     As to Count Sixteen of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                   Guilty

                                       13.


     As to Count Seventeen of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                   G

                                       14.


     As to Count Eighteen of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                   Guilty


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                                      15.


     As to Count Nineteen of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      16.


     As to Count Twenty of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      17.


     As to Count Twenty-One of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                      ty

                                      18.


     As to Count Twenty-Two of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty



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                                     19.


     As to Count Twenty-Three of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                     20.


     As to Count Twenty-Four of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                 Gui

                                     21.


     As to Count Twenty-Five of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                     22.


     As to Count Twenty-Six of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty



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                                      23.


     As to Count Twenty-Seven of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      24.


     As to Count Twenty-Eight of the Superseding Indictment, we, the Jury,

unanimously find the Defendant JIM C. BECK:



     Not Guilty                                  G^ty

                                      25.


     As to Count Twenty-Nine of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                  G

                                      26.


     As to Count Thirty of the Superseding Indictment, we, the Jury,

unanimously find the Defendant JIM C. BECK:


                                                     ^
     Not Guilty



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                                      27.


     As to Count Thirty-One of the Superseding Indictment, we, the Jury,

unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      28.


     As to Count Thirty-Two of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty                                    fuilty

                                      29.


     As to Count Thirty-Three of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      30.


     As to Count Thirty-Six of the Superseding Indictment, we, the Jury,

unanimously find the Defendant JIM C. BECK:



     Not Guilty



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                                      31.


     As to Count Thirty-Seven of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      32.


     As to Count Thirty-Eight of the Superseding Indictment, we, the Jury,

unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      33.


     As to Count Thirty-Nine of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



     Not Guilty

                                      34.


     As to Count Forty of the Superseding Indictment, we, the Jury, unanimously


find the Defendant JIM C. BECK:



     Not Guilty

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                                       35.


      As to Count Forty-One of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:


                                                   ^
      Not Guilty

                                       36.


      As to Count Forty-Two of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



      Not Guilty



                                       37.


      As to Count Forty-Three of the Superseding Indictment, we, the Jury,


unanimously find the Defendant JIM C. BECK:



      Not Guilty

SO SAY WE ALL.

      Signed and dated at the United States Courthouse, Atlanta, Georgia,

this^W day of July, 2021.


Jury Foreperson's Signature:                   ',9^

Jury Foreperson's Printed Name:                       ^/e^
                                             ^J^/^l L £

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